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                         IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF ARKANSAS
                                   WESTERN DIVISION

TERRA INTERNATIONAL, INC.                                                                PLAINTIFF

v.                                     No. 4:02CV00190 JLH

TOMMY F. ROBINSON, JEFFREY W.
ROBINSON, GREG T. ROBINSON, and
FRED CHAMBERS, Individually and as Partners
of AG PRO FARM PARTNERSHIP                                                           DEFENDANTS

                                              ORDER

       Terra International, Inc., has filed a motion to revive the judgment against Tommy F.

Robinson, Jeffrey W. Robinson, and Greg T. Robinson, individually and as partners of Ag Pro Farm

Partnership. The Robinsons have filed a motion to dismiss with prejudice, noting that the writ of scire

facias have been abolished and arguing that the judgment expired before the order was signed. In

response, Terra International points out that the rules provide that execution of a judgment in accord

with the procedure of the state where the court is located, which includes the practice relating to

revival of dormant judgments. Terra International also notes that the motion was filed before the

judgment expired.

       The motion to revive the judgment is GRANTED. Document #52. The motion to dismiss

with prejudice is DENIED. Document #58. The judgment entered in this action in favor of Terra

International, Inc., against Tommy F. Robinson, Jeffrey W. Robinson, and Greg T. Robinson,

individually and as partners of Ag Pro Farm Partnership, is revived and the lien thereof extended for

a period of ten years.

       IT IS SO ORDERED this 10th day of February, 2014.



                                                       J. LEON HOLMES
                                                       UNITED STATES DISTRICT JUDGE
